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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS




    IN THE MATTER OF
    EXTRADITION OF T.C.                      No. 24-MJ-01365-DLC




               ORDER ON RELATOR’S SECOND EMERGENCY MOTION
           TO RECONSIDER ORDER DENYING RELEASE FROM DETENTION


CABELL, Chief U.S.M.J.

        This matter arises out of an extradition request from the

Republic of Türkiye (“Türkiye”) pursuant to a treaty in force

between the United States and Türkiye. 1             Pending before the court

is a motion to reconsider the court’s denial of a prior motion to

release      relator     T.C.   (“T.C.”)     from    the   Northeast     Juvenile

Detention Center in Newark, New Jersey, (“Newark”) to reside with

his aunt and uncle in Amesbury, Massachusetts, during the pendency

of these extradition proceedings. 2           In the event he is not released

to his relatives, T.C. seeks a transfer to the Massachusetts




1 Treaty on Extradition and Mutual Assistance in Criminal Matters Between the
United States of America and the Republic of Turkey, U.S.-Turk., June 7, 1979,
32 U.S.T. 3111 (the “Treaty”).
2  The motion also challenges a refusal by the Manson Youth Institution
(“Manson”) in Cheshire, Connecticut, to accept T.C. back in its “custody
because of the liability associated with Manson’s own wrongdoing in this
case.” (D. 74, p. 1).
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Department       of   Youth   Services    (“Mass    DYS”).      (D.   74).     The

government objects to T.C.’s release while taking no position on

the transfer to Mass DYS.          (D. 81).    Chiefly because T.C. fails to

show special circumstances that justify his release from Newark,

the motion (D. 74) is denied.

I.     THE PARTIES’ ARGUMENTS

        Anent special circumstances, T.C. argues that Newark is not

a suitable facility to house a juvenile.                (D. 74, 86).      In that

regard, he maintains that the facility is unsafe and imperils his

physical and mental health.            He seeks a reconsideration and his

release primarily based on the following:               (1) a July 18 assault

by three detainees in T.C.’s housing unit, which required stiches

to his upper lip at a local hospital; 3 (2) the long distance of

Newark from T.C.’s relatives in Amesbury and his counsel in Boston;

(3) an inability to make direct calls to his father in Türkiye

without first calling his attorney, who then must add his father

to the phone call and stay on the line throughout the call; (4)

the housing of 18 to 21-year-old individuals in the same unit as

T.C. thus exposing him “to convicted offenders two, three, and

nearly four years older” than him; (5) T.C.’s                                        ,

and fear for his safety, which cannot be accommodated at Newark;


3   The assault additionally resulted in abrasions and loose teeth.



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and (6) T.C.’s involuntarily confinement to his cell for 18 to 19

hours per day and, in the event of lockdown, 23.5 hours a day. 4

(D. 74, 86, 121, 135-1, 138).             Somewhat separately, he maintains

that his current conditions violate his rights under the Fifth,

Sixth, and Eighth Amendments.            (D. 74, ¶ 15).

        As to conditions of release, T.C. is willing to abide by any

conditions the court would impose if he is released to the care of

his aunt and uncle.         T.C. also offers to pay for any oversight the

court deems necessary.          (D. 74, 86).     To that end, he has secured

GPS monitoring services provided by SCRAM, which provides such

services to probation departments throughout the country.                      (D.

86).

        Lastly, T.C. maintains that the court should transfer him to

Mass DYS as “the proper jail,” 18 U.S.C. § 3184 (“section 3184”).

(D. 74, ¶¶ 17-19).          He also objects to the unwillingness of the




4 Related to the involuntary confinement, T.C. asserts he has limited access to
the library and was allowed to borrow only three books in the seven weeks before
September 6. (D. 122) (August 27 video interview of T.C. stating three books
in the last six weeks); (D. 138) (confirming he has not received access to any
additional books as of September 6). After moving to the orientation unit on
July 20, he was not allowed even one book to read as of August 5. (D. 94).
Further, he was taken to school only twice between July 20 and August 16, at
which point the school went on recess until September 5. (D. 137) (D. 132-1,
¶ 3) (D. 122). Although not expressly discussed in section IV(A)(6), the court
considered these circumstances in determining whether the involuntary
confinement was a special circumstance.




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United States Marshals Service (“the Marshals”) to house him at

Mass DYS on the basis that it is prohibitively expensive.

      The government counters that Newark staff quickly stopped the

assault, examined T.C., transported him to the hospital, and

removed the three detainees suspected of assaulting T.C. to a

separate housing unit.       (D. 81, p. 2).     Further, as the government

points out, once T.C. returned from the hospital, staff placed him

under medical supervision to be transferred to a different housing

unit after he is medically cleared.          (D. 81, p. 3).      As such, the

conduct is unlikely to reoccur, according to the government.

      The    government     also    disagrees      with    T.C.’s     asserted

involuntary confinement for extended time periods.                  It submits

that T.C. is confined to his cell only from 9:00 p.m. to 8:00 a.m.

and 2:00 p.m. to 3:15 p.m. for a shift change.            (D. 132).    Per the

government, T.C. can attend school where he has access to a

gymnasium.    (D. 115-1, 132).       He is also allowed Zoom calls with

his father, the government contends, although it remains unclear

if T.C.’s counsel must stay on the Zoom call throughout the

conversation.     (D. 115-1) (D. 74, p. 2, n.1).

II.   LEGAL STANDARD

      “[A] presumption against bail” applies “in extradition cases

and only ‘special circumstances’ justify release on bail.” United

States v. Kin-Hong, 83 F.3d 523, 524 (1st Cir. 1996)


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(citing Wright v. Henkel, 190 U.S. 40, 63 (1903)) (additional

citations omitted); accord Matter of Extradition of Taylor, 471 F.

Supp. 3d 389, 393 (D. Mass. 2020).              The burden falls squarely on

the relator to show both that:           (1) “he is neither a flight risk,

nor a danger to the community; and” (2) “there are ‘special

circumstances’      [that]    justify      release      on   bail.”     Matter    of

Extradition of Drumm, 150 F. Supp. 3d 92, 96 (D. Mass. 2015)

(collecting cases); accord        United States v. Castaneda–Castillo,

739 F. Supp. 2d 49, 55 (D. Mass. 2010) (noting twofold showing of

neither   risk   of    flight   nor     danger    to    community     and   special

circumstances).

     Special circumstances “are limited to situations in which

‘“the justification [for release] is pressing as well as plain.”’”

Kin-Hong, 83 F.3d at 524        (quoting United States v. Williams, 611

F.2d 914, 915 (1st Cir. 1979)).               “[W]hat constitutes a ‘special

circumstance’”      falls    within     the    “Court’s      sound    discretion.”

Drumm, 150 F. Supp. 3d at 96 (citation omitted); see Beaulieu v.

Hartigan, 554 F.2d 1, 1 (1st Cir. 1977) (stating “bail may be

granted in the sound discretion of the district court” but “should

be approached with caution” and granted “only upon a showing of

special circumstances”).         Examples of special circumstances are

“case specific.”       Castaneda–Castillo, 739 F. Supp. 2d at 56.                For

instance,    they     may   include   “a      serious    deterioration      in   the


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relator’s health” that cannot be accommodated or managed at the

facility.        Kin-Hong, 83 F.3d at 524 (emphasis added); see In re

Extradition of Huerta, No. H–08–342M, 2008 WL 2557514, at *2 (S.D.

Tex. June 23, 2008) (finding no special circumstance because

Huerta’s        medical   conditions,     while    serios,     “are     not   life-

threatening, nor are they so novel or complex as to be beyond the

capacity of federal authorities to manage while he is in their

custody.”); accord Matter of Extradition of Noeller, No. 17 CR

664, 2017 WL 6462358, at *4 (N.D. Ill. Dec. 19, 2017) (finding no

special circumstances because extraditee’s medical condition was

not “life threatening or so serious and exigent that his medical

needs [could not] be accommodated . . . while in custody.”).

The absence of a “suitable facility in which to detain a juvenile

extraditee” may also amount to special circumstances.                   Castaneda–

Castillo, 739 F. Supp. 2d at 56 (citing Hu Yau–Leung v. Soscia,

649 F.2d 914 (2d Cir. 1981)).

III.      BACKGROUND 5

A.     Events Prior to T.C.’s Confinement at Newark

        On July 9, 2024, the court denied T.C.’s motion for release

from      the    Manson   Youth    Institution     (“Manson”)      in    Cheshire,




5 The background is culled from the exhibits or, where largely undisputed,
representations by the parties is their briefs.



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Connecticut to reside with his aunt in Amesbury.               (D. 59).     The

decision recounts the circumstances in Türkiye that led to the

investigation of T.C. and an arrest warrant for the offense of

causing a reckless killing and injury in violation of Article 85/2

of the Criminal Code of Türkiye.           (D. 12, pp. 100, 151).

     To briefly summarize these events, they took place shortly

before midnight on March 1, 2024.           At the time, T.C. was driving

a Porsche on a two-lane, two-way road with an estimated speed limit

of 18 miles per hour while traveling approximately 105-111 miles

per hour.   As he rounded a corner, he hit three ATVs parked on the

side of the road and five individuals, one of whom died.               (D. 12,

pp. 121-122, 129, 131, 135, 137).           Four hours later, he fled the

country with his mother, Eylem Tok (“Tok”), on a flight to Cairo,

from where they flew to the United States.             (D. 12, pp. 96, 141,

143-144).

     On June 14, T.C. was arrested, brought before this court for

an initial appearance, and thereafter remanded to the custody of

the Marshals.     T.C. began his confinement at Manson the same day.

Four days later, he filed the motion to be released from Manson.

As indicated, the court denied the motion in the July 9 decision

given the absence of special circumstances.                Pertinent to the

current motion for reconsideration and release, the decision did

not foreclose reexamining the issue of special circumstances.


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Specifically, the court explained it “would be prepared to revisit”

the existence of special circumstances “should conditions going

forward raise true, substantive concerns akin to some of those

raised here or new (equally substantive) concerns based on changed

conditions at whatever facility T.C. is being held.”                 (D. 59, pp.

27-28).

        On July 12, the Marshals transferred T.C. to Newark. 6                 (D.

74, p. 1).        Shortly thereafter, T.C. filed the first motion to

transfer from Newark to Mass DYS or, alternatively, to reconsider

the July 9 decision denying his release.                  (D. 65).     The court

denied the motion primarily because T.C. did not show the existence

of special circumstances at Newark.                (D. 71).      The court also

repeated the above-quoted language that it “would be prepared to

revisit” the existence of special circumstances “based on changed

conditions at whatever facility T.C. is being held,” as pointed

out by T.C.       (D. 71) (D. 74, ¶ 9).



6 T.C. argues that Manson refused to take him back in retaliation for the
allegations he made in court filings and “the ‘problems’ associated with
[Manson’s] publication of T.C.’s personal information.” (D. 86, ¶ 4) (D. 74,
¶ 5). In that vein, T.C. relatedly asserts that Manson’s refusal to accept
T.C. because of its own wrongdoing “constitute[s] a change in circumstance[]
that demonstrate[s] the government’s unwillingness to utilize a suitable
facility” to house T.C. (D. 74, p. 1). He further submits that the refusal,
even though “this [c]ourt had given [him] the option of returning to Manson,”
supports his current motion for release from Newark. (D. 74, ¶¶ 3, 5). The
court disagrees. In any event, even if Manson did retaliate against T.C. in
the manner alleged, the court fails to see the material relevance of Manson’s
conduct as warranting his release from a different facility, Newark.



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B.     Conditions at Newark

        T.C. began residing at Newark on July 12. Like Manson, Newark

has a contract with the Marshals to house youth offender detainees

for a certain fee.          (D. 65, ¶ 7).     In 2018, it was $400 to house

a detainee per day at Mass DYS, which is not a contracted facility.

As such, Mass DYS was more than three times the daily fee at Newark

of approximately $120.          (D. 81, p. 3) (D. 65, ¶ 7).

        Newark     houses    pretrial     detainees        and     sentenced   youth

offenders        between      the     ages     of     10         and   21.        See

https://essexcountyjail.org/essex-county-juvenile-detention-

center. 7     (D. 81).      Individuals arrested as juveniles at the age

of 17 or younger remain at Newark until their sentencing, even if

that occurs when the individual is 21 years old. 8                     (D. 81).   In

that regard, T.C. states he is being held at Newark in a unit with

individuals four years older than him.              (D. 86, ¶ 5) (D. 65, ¶ 9).

        Upon his arrival at Newark, T.C. described being separated

from the general population “due to Covid.”                 (D. 65, ¶ 9).




7The court takes judicial notice of the above information. See Doss v. Corizon,
Inc., 636 F. Supp .3d 807, 811 n.1 (W.D. Mich. 2022) (taking judicial notice of
information on Michigan Department of Corrections’ website).
8   Eighteen is the age of adulthood in New Jersey.    See N.J. Stat. 2A:4A-22.



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with the assailants and did not provoke the assault. 11              (D. 86, ¶

7).    He suffered a cut to his lip, abrasions, and loose teeth.

(D. 74, ¶ 6).

      Importantly, the assault was quickly stopped.             Medical staff

at Newark examined T.C. and transported him to the hospital, where

he received stitches to his lip.            (D. 74, ¶ 6) (D. 81, p. 2).       It

is also significant that Newark removed the three assailants from

unit 8 and placed T.C. under medical observation upon his return

from the hospital.       Specifically, on July 20, he was placed in a

medical observation/orientation unit (“orientation unit”). 12                (D.

132-1).    Whereas Newark staff had planned to transfer T.C. to a

more permanent unit, he asked to stay in this unit because he felt

safer there.     (D. 132-1).      Like all other Newark residents, T.C.

is required to be in his cell from 9:00 p.m. to 8:00 a.m. and 2:00

p.m. to 3:15 p.m. for a shift change. 13          (D. 132-1).



11The court credits this aspect of T.C.’s rendition of the assault as opposed
to the government’s description of T.C. repeatedly arguing with other residents
about being on the telephone. (D. 81, p. 2) (D. 86, ¶ 7). Regardless, the
assault does not give rise to special circumstances as discussed below.
12 In addition to housing residents for medical observation, the unit functions
as an orientation unit for newly-admitted Newark residents until they are
medically cleared to transfer to a more permanent unit. When such residents
enter the orientation unit, residents in the unit are required to remain in
their cell. (D. 132-1).
13The court credits the Warden’s averment that T.C., like all Newark residents,
must remain in his cell from 9:00 p.m. to 8:00 a.m. and from 2:00 p.m. to 3:15
p.m. as opposed to T.C.’s averment that he is involuntarily committed to his
cell for 18 to 19 hours a day. (D. 132-1, 138). To explain, T.C. has a strong


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      Separately, T.C. has a close relationship with both his aunt

and uncle. 14   (D. 69).    Like T.C.’s counsel and notwithstanding the

distance, both his aunt and uncle have visited T.C. at Newark.

(D. 86, ¶ 3).

      During his residency at Newark, T.C. has been afraid for his

safety.    At counsel’s July 14 visit, he was tearful and anxious.

(D. 65, ¶ 9).      Relatedly, T.C. has an assigned social worker at

Newark to support his needs,

                                                  .   (D. 81) (referring to

“T.C.’s assigned social worker”); (D. 121) (

                                                                 );   (D.   122)

(                                                           ).



                                                       .   (D. 121).




interest in his release. Further, he reports confinement to his cell for 21.5
hours since July 20 in an August 5 filing (D. 94) and reported at some point to
Dr. Atkins confinement to his cell for 20 to 21 hours (D. 107). To be sure, at
one point the Warden stated that residents were confined between 1:00 p.m. to
2:00 p.m. for the shift change.       (D. 115-1).    The government asked for
clarification, and the Warden thereafter averred the 2:00 p.m. to 3:15 p.m.
time for the shift change. (D. 132-1). On balance, the court finds the Warden’s
averment more credible.
14Previously, as stated in the July 9 decision, the court found that T.C. did
not share a close relationship with his aunt.      (D. 59, p. 26) (“Drawing
reasonable inferences, T.C. does not appear to have a close relationship with
his aunt.”). Based on a more fulsome record, including a July 11 letter to the
court from T.C. (D. 69), the court finds that he shares a close relationship
with his aunt and uncle.


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                                                           .   (D.    107,   115-1,   122).

Newark’s “Supervising Social Worker, Ms. Jones,” has also “done

her best to watch over T.C. given the circumstances he faces,” as

noted by T.C.’s counsel.                       (D. 86, ¶¶ 6-7).

                               Newark has medical staff available 24 hours a

day, seven days a week.                    (D. 81, p. 2).




                      .    (D. 107).




                                      15


IV.     DISCUSSION

A.     Special Circumstances

        As   noted,       T.C.    argues          that    special    circumstances    exist

because      Newark       is    not        a   suitable   facility    for    juveniles   and


15   Additional facts are set out below where relevant to a particular argument.



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                                                              .    (D. 74, ¶ 15).

On a broad level, he seeks release “to avoid physical assault,

psychological trauma, isolation from family, and distance from

counsel,” which, he contends, constitute special circumstances.

(D. 86, ¶ 8).      On a more granular level, as previously noted, he

identifies the following as special circumstances:                      (1) the July

18 assault; (2) the long distance of Newark from his counsel, aunt,

and uncle; (3) the inability to make direct calls to his father in

Türkiye without involving counsel; (4) housing pretrial detainees

with convicted youth offenders; (5)

                                                                             ; and (6)

the extended and involuntary confinement to his cell with limited

access to the library and school.            Examining these circumstances

seriatim leads to the conclusion that T.C. fails to show special

circumstances      either      singularly     based     on        one     of     these

circumstances      or     in   combination     based     on       all     of     these

circumstances.

1.   July 18 Assault

     The    July     18    assault   does     not     constitute         a     special

circumstance.      The assault was short-lived, resulted in relatively

minor injuries, and is highly unlikely to reoccur because of the

safeguards Newark enacted in response.          Specifically, housing T.C.

in a different unit separate and apart from the three assailants


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driving    distance    between    Newark    and    Boston   or   Amesbury     is

unquestionably long and, as his counsel suggest, would typically

warrant an overnight stay in Newark.

      The challenges, however, are manageable.           Both T.C.’s counsel

and his aunt and uncle were able to visit T.C. in Newark.                Newark

also allows counsel to use Zoom to meet virtually with a client.

Further, the need to assist in preparing a defense with counsel is

typically not a special circumstance.           See Drumm, 150 F. Supp. 3d

at 100 (“[N]eed to assist in defending against the extradition

proceeding itself is not a special circumstance.”) (citations

omitted); Matter of Extradition of Sidali, 868 F. Supp. 656, 657

(D.N.J. 1994) (“[N]eed to consult extensively with an attorney

over complex and important legal matters does not measure up to a

‘special circumstance.’”) (citation omitted); see also Koskotas v.

Roche, 931 F.2d 169, 175 (1st Cir. 1991). 17

      In short, the challenges faced by counsel and T.C.’s aunt and

uncle to meet in person with T.C. are inconvenient but far from

insurmountable.       Decidedly, they do not give rise to special

circumstances.




17As stated in the July 9 decision, the court reiterates that it is not prepared
to hold that counsel’s inability to meet with a client could never amount to a
special circumstance. (D. 59, p. 26).



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3.   Telephone Calls

      To continue, T.C. maintains that routing telephone calls                 to

his father through T.C.’s counsel violates his right as a juvenile

to maintain contact with his family. 18             (D. 74, n.1).    T.C. cites

two cases 19 to assert a violation of his right to maintain family

contact because of the inability to make direct phone calls to his

father without counsel’s involvement.

      To begin, the court accepts the premise that a parent, such

as the unwed father in Stanley, has a right to family unity and

integrity under the Due Process Clause of the Fourteenth Amendment

and, more germanely, under the Due Process Clause of the Fifth

Amendment.     See Stanley, 405 U.S. at 651 (“The integrity of the

family unit has found protection in the Due Process Clause of the

Fourteenth     Amendment,     the    Equal    Protection     Clause     of    the

Fourteenth     Amendment,     and   the     Ninth     Amendment.”)    (internal

citations omitted); M.G.U. v. Nielsen, 325 F. Supp. 3d 111, 118

(D.D.C.   2018)    (adjudicating     preliminary      injunction     motion   and




18As indicated previously, the record is not clear whether the Zoom phone calls
still need to be routed through T.C.’s counsel. The court will assume this
remains the case. Nevertheless, T.C. fails to show special circumstances.

19In particular, he cites: Stanley v. Illinois, 405 U.S. 645, 651 (1972), a
case involving the interference with an unwed father’s custodial rights; and
Moore v. City of E. Cleveland, 431 U.S. 494, 503 (1977), a case involving the
categories of relatives that could live in a home.



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concluding parent “is likely to succeed on her claim that her

continued   separation     from   her    minor     son   .   .   .   violates    her

substantive due process rights under the Fifth Amendment”).                    More,

the court will assume arguendo that T.C., a minor in federal

custody, has a similar right under the Due Process Clause of the

Fifth Amendment.     See Jacinto-Castanon de Nolasco v. U.S. Immigr.

and Customs Enforcement, 319 F. Supp. 3d 491, 499 (D.D.C. 2018)

(finding likelihood of success on preliminary injunction motion

that separation of mother, absent a determination” she is unfit

“parent or presents a danger to her sons, violates their right to

family integrity under the Fifth Amendment”) (emphasis added).

     Even so, however, “[t]he right to family integrity has been

recognized in only a narrow subset of circumstances.”                     Aguilar v.

U.S. Immigr. and Customs Enf’t Div. of Dept. of Homeland Sec., 510

F.3d 1, 23 (1st Cir. 2007); see id. at 24 n.7 (rejecting suggestion

that petitioners “had the right to contact their family members

immediately    following     their      detention”).          Furthermore,       the

limitation placed on direct phone calls between T.C. and his father

is not a complete bar.        See United States v. Smalcer, 464 Fed.

Appx. 469, 471 (6th Cir. 2012) (explaining that supervised release

“no-contact    condition     is   not        a   complete    bar     to    Smalcer’s

fundamental right of family association, thus providing further

support for the restriction”) (citing United States v. Crume, 422


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F.3d 728, 734 (8th Cir. 2005)).            Rather, it simply requires T.C.

to contact his father through a phone call to his attorney, thus

making the phone call dependent on his attorney’s availability.

It stands to reason that the inconvenience and difficulty of T.C.

calling his father by first calling T.C.’s counsel, who must stay

on the phone during the call, is not a special circumstance.

4.   Housing T.C. in Same Unit as 18 to 21-Year-Old Individuals

       Next, T.C. objects to housing 18 to 21-year-old individuals

in the same unit with him.          (D. 86, ¶ 5).           The practice, T.C.

contends, exposes him “to convicted offenders two, three, and

nearly four years older” and it “has proven dangerous to T.C.”

(D. 86, ¶ 5).

       First, although the court acknowledges T.C.’s concern about

his exposure to sentenced individuals a few years older than him,

the age range is not that great.           Second, as explained in the July

9 decision, housing charged and convicted youthful offenders in

the same unit is an unwelcome but not uncommon part of the

discomfort inherent in jail.         See United States v. Williams, 611

F.2d 914, 915 (1st Cir. 1979) (“[T]he discomfiture of jail” is

“not   [a] special    circumstance[].”);        (D.   59,    p.   26).   Third,

according to the Warden, under New Jersey law, individuals charged

as juveniles remain in juvenile custody at Newark until their case




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is closed. 20    It follows that T.C. fails to show that the practice

amounts to special circumstances.

5.



          constitute a special circumstance justifying his release.

He is mistaken.

      First and foremost, the stress of detention is not a special

circumstance.      See United States v. Risner, No. 3:18-mj-765-BN,

2018 WL 6809796, at *20 (N.D. Tex. Dec. 17, 2018) (“rejecting

fugitive’s      claim     that   his    [advanced]      age,   recent   surgery,

medications, and the stress of detention warranted bail” (citing

Matter of Extradition of Ricardo Alberto Martinelli Berrocal, 263

F. Supp. 3d 1280, 1301 (S.D. Fla. 2017))); United States v. Nolan,

No. 08–M–97, 2009 WL 4544699, at *2 (N.D. Ill. Dec. 1, 2009)

(rejecting extraditee’s “placement in solitary confinement, and

related    concerns       over   his    mental    and   physical   health,”    as

warranting      release    based   on   special    circumstances);      see   also

Williams, 611 F.2d at 915.




20 The court credits this representation by the government even though the
government did not speak directly with the Warden. (D. 81).


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how T.C. can make a request and would provide the information to

T.C.’s counsel.      (D. 115-1).




                                        As    such,   it   is    not   a   special

circumstance.

6.     T.C.’s Involuntary Confinement to His Cell

       As explained, T.C. is only confined to his cell from 9:00

p.m. to 8:00 a.m. and from 2:00 p.m. to 3:15 p.m. for a shift

change.    Here again, this is an ordinary and common requirement of

the discomfort of being in jail.             See Williams, 611 F.2d at 915.

It falls well short of a special circumstance.

       In sum, none of the various conditions and circumstances at

Newark that T.C. identifies constitutes a special circumstance.

Although     the    court   considered       the   various      conditions    and

circumstances at Newark in a compartmentalized fashion, the court

also    concludes    that   all   of   the    condition    and    circumstances


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considered in combination as a group do not amount to special

circumstances.      In conclusion, T.C. bears the burden of showing

special circumstances and he fails to do so. 23

B.   Constitutional Violations

      T.C. next argues summarily that the conditions of confinement

at Newark violate his Sixth, Fifth, and Eighth Amendment rights.

T.C. fails to show a violation of the Sixth Amendment because the

right to counsel applies “in criminal cases.”               Romeo v. Roache,

820 F.2d 540, 543–44 (1st Cir. 1987).           “Extradition proceedings .

. . are generally not considered criminal prosecutions.”                Id.

      The Eighth Amendment does not apply because T.C. is not a

convicted inmate. Whereas the Due Process Clause of the Fourteenth

Amendment hews to the same standard, see Latimore v. Trotman, 651

F. Supp. 3d 366, 373 n.7 (D. Mass. 2023) (noting Eighth Amendment

protects convicted inmates but “substance of the protection is the

same” under Fourteenth Amendment) (citation omitted), T.C. is not


23 Because of the absence of special circumstances, it is not necessary to
address the risk of flight risk. See In re the Extradition of Kyung Joon Kim,
No. CV 04–3886–ABC, 2004 WL 5782517, at *6 (C.D. Cal. July 1, 2004) (Finding no
special circumstances to justify bail, “the Court need not address the issue of
flight risk, since without special circumstances bail is not available.”); see
also Matter of Extradition of Schumann, No. 18 CR 283, 2018 WL 4777562, at *6
(N.D. Ill. Oct. 3, 2018) (Even if extraditee could show he was not a risk of
flight,   “bail  would   be   warranted  only   if   he  present[ed]   ‘special
circumstances.’”) (citation omitted). Whereas the court acknowledges T.C.’s
request to address whether conditions of release can abate any perceived risk
of flight (D. 74, ¶ 16), the complete absence of special circumstances renders
it unnecessary.



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in state custody.      Rather, T.C. is in federal custody awaiting a

hearing on the extradition request.           As such, he is analogous to

a federal pretrial detainee awaiting trial to which the Fifth

Amendment’s Due Process Clause applies.          See Baez v. Moniz, 460 F.

Supp. 3d 78, 88 (D. Mass. 2020) (stating that for federal detainees

awaiting trial, claims arise under Fifth Amendment’s Due Process

Clause rather than Eighth Amendment).

     That said, regardless of whether the Eighth or Fifth Amendment

applies, the standard is similar.           See id. at 88.       As astutely

explained in Baez:

     First Circuit precedent describes the [Fifth Amendment and
     the Eighth Amendment] standards as “not all that far apart,”
     with both leaving “ample room for professional judgment,
     constraints presented by the institutional setting, and the
     need to give latitude to administrators who have to make
     difficult trade-offs as to risks and resources.” Battista v.
     Clarke, 645 F.3d 449, 453 (1st Cir. 2011); see Savino [v.
     Souza, 459 F. Supp. 3d 317, 327-329 & n.16 (D. Mass. 2020)]
     (assessing Fifth Amendment claim of immigration detainees
     under “deliberate indifference” standard and discussing state
     of First Circuit decisions in this area); Couchon v. Cousins,
     No. 17-cv-10965, 2018 WL 4189694, at *6 (D. Mass. Aug. 31,
     2018) (finding First Circuit precedent did not permit
     District Court to apply standard other than “deliberate
     indifference” to Fifth Amendment claim involving challenge to
     conditions of confinement).

Baez, 460 F. Supp. 3d at 88.

     T.C.’s single-sentence argument that the conditions at Newark

violate his Fifth Amendment right fails to persuade.                  In that

regard,   and   crediting    the   Warden’s    representations,       T.C.   is



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confined to his cell from 9:00 p.m. to 8:00 a.m. and then from

2:00 p.m. to 3:15 p.m.        Outside of these times, he is free to leave

his cell, according to the Warden.

                     and he can attend school, which resumed after an

August 16 to September 5 recess, per the Warden.                 Other than the

July 18 assault, T.C. does not report any further altercation and

verbal threats, even if true, do not violate the Fifth Amendment.

See Chin v. Warfel, Civil Action No. 23-4220 2024 WL 665536, at *4

(E.D. Pa. Feb. 15, 2024) (“A constitutional claim based only on

verbal threats will fail, moreover, whether it is asserted under

the Eighth Amendment’s ban on cruel and unusual punishment or under

the Fifth Amendment’s substantive due process clause.” (citing

Maclean   v.   Secor,   876    F.   Supp.   695,   699   (E.D.    Pa.   1995))).

Accordingly, T.C. fails to show a violation of his Fifth Amendment

right to due process.           Alternatively, he fails to adequately

develop and therefore waives the argument of a Fifth Amendment

violation.     In either instance, the “argument” that the conditions

of confinement at Newark violate T.C.’s Fifth Amendment right to

due process is unavailing.

C.   Transfer to Mass DYS

     As a final matter, T.C. asks the court to use its authority

under section 3184 to transfer him to Mass DYS if the court does

not release him to the custody of his aunt and uncle.                   Quoting


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section 3184, T.C. emphasizes that the “court ‘shall issue his

warrant for the commitment of the person so charged to the proper

jail, there to remain until such surrender shall be made.”                  (D.

74, ¶ 17).     In effect, T.C. argues that Newark is not the proper

jail, which impels the court to transfer him to Mass DYS as the

proper jail.    Other than the statute, T.C. provides no case law to

support his argument that section 3184 requires a transfer to

another jail as the proper jail.             Regardless, for many of the

reasons stated in section IV(A), he court concludes that Newark is

the proper jail.     T.C.’s request is therefore denied.

       T.C. also objects to the Marshal’s reluctance to transfer him

to Mass DYS because of the expense.            (D. 65, ¶ 14).       Citing 18

U.S.C. § 3195 (“section 3195”), T.C. contends that the objection

based on expense is meritless because the statute requires Türkiye

to pay the cost of T.C.’s detention in Massachusetts.               (D. 65, ¶

14).    The language of section 3195 states that Türkiye bears the

cost “incurred in any extradition proceeding in apprehending,

securing, and transmitting” T.C.           18 U.S.C. § 3195.

       The government points out that article 19 of the Treaty

governs the cost of detention and it requires the United States to

pay the cost.    (D. 68) (citing Whitney v. Robertson, 124 U.S. 190,

194 (1888)).    The government is correct.




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     When a treaty and a statute “relate to the same subject,”

courts construe the documents “to give effect to both, if that can

be done without violating the language of either” document.              Greci

v. Birknes, 527 F.2d 956, 960, n.9 (1st Cir. 1976) (quoting

Whitney, 124 U.S. at 194).       However, “if the two are inconsistent,

the one last in date will control the other.”                   Id. (quoting

Whitney, 124 U.S. at 194).            Article 19 plainly states that,

“Expenses in the territory of the Requested Party [the United

States] for processing the extradition request for the person

sought shall be borne by that Party until surrender.             The expenses

after surrender shall be borne by the Requesting Party,” Türkiye.

(D. 12, p. 23) (emphasis added).           The Treaty postdates section

3195, which was enacted in 1948.           Hence, to the extent there is

any conflict with section 3195, the Treaty controls.             Because T.C.

has not yet been surrendered to Türkiye, the United States, as the

requested party, bears the expense of processing the extradition

request, which encompasses the cost of housing him in Newark or

Mass DYS.   As a result, T.C.’s argument regarding expense fails to

persuade.

     In conclusion, the conditions and circumstances of T.C.’s

confinement at Newark are not standing alone, or in combination,

special circumstances.        T.C.’s constitutional arguments do not




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warrant his release, and a transfer to Mass DYS as “the proper

jail,” 18 U.S.C. § 3184, lacks merit.

V.   CONCLUSION

     For the reasons explained above, the emergency motion to

reconsider the order denying release and refusal by Manson to take

custody (D. 74) is DENIED.



                                      /s/ Donald L. Cabell
                                      DONALD L. CABELL, Chief U.S.M.J.


DATED:   September 26, 2024




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